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                        IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF MISSISSIPPI
                                   Greenville Division

  DYAMONE WHITE, et al.,                           )
                                                   )   No. 4:22-cv-00062-SA-JMV
                                                   )
                         Plaintiffs,               )
   v.                                              )   NOTICE OF SERVICE OF PLAINTIFFS’
                                                   )   REBUTTAL EXPERT REPORTS
  STATE BOARD OF ELECTION                          )
  COMMISSIONERS, et al.,                           )
                                                   )
                                                   )
                         Defendants.               )


TO:     All Counsel of Record

        NOTICE IS HEREBY GIVEN that the Plaintiffs, Dyamone White, Derrick Simmons, Ty

Pinkins, and Constance Olivia Slaughter Harvey-Burwell (hereinafter collectively “Plaintiffs”) by

and through counsel, have this date served the following on all Defendants through their counsel:

        1. Plaintiff’s’ Rebuttal Expert Reports.

The undersigned retains the originals of the above-referenced papers as custodian thereof.


 Dated: February 6, 2023




 /s/ Joshua F. Tom
 AMERICAN CIVIL LIBERTIES UNION                         ACLU FOUNDATION
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                                CERTIFICATE OF SERVICE


      I, Joshua Tom, hereby certify that on February 6, 2023, I filed the forgoing Notice with the
Clerk of the Court using the ECF system which sent notification of such filing to all parties on
file with the Court.
                                                                    /s/: Joshua Tom__________
                                                                    Joshua Tom, MSB # 105392
